           Case 1:18-cv-02226-ABJ Document 10 Filed 10/04/18 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 JEFF MERKLEY, United States Senator,

                    Plaintiff,

           v.                                        Case No. 18-cv-2226 (ABJ)

 DONALD J. TRUMP, in his official
 capacity as President of the United States,
 et al.,

                    Defendants.


                    GOVERNMENT DEFENDANTS’ 1 OPPOSITION TO
                     PLAINTIFF’S MOTION TO AMEND SCHEDULE

       Plaintiff’s motion to amend the schedule seeking an expedited hearing, filed more than a

day after this Court set an already-expedited schedule for combined briefing on a motion for a

temporary restraining order and defendants’ forthcoming motions to dismiss—in a lawsuit that is

clearly barred by well-settled precedent regarding Article-III standing of individual legislators—

is without merit and should be denied. As this Court recognized at yesterday’s status conference,

Plaintiff had already delayed significantly in filing his complaint, despite knowing for months that

there was a dispute over information related to the judicial nomination at issue in this case. See,

e.g., Compl. ¶ 68 (citing August 31, 2018 letter concerning “presidential privilege”). And, even

after filing the complaint, Plaintiff waited an additional week before moving for expedited relief,

even though various Senate votes had already been scheduled, rescheduled, and postponed, which

(had they taken place) could have had the effect of mooting his entire case. Plaintiff was fully


       1
          The Senate Defendants have represented to the Department of Justice (through the Office
of Senate Counsel) that they consent to DOJ representation at least for purposes of opposing
Plaintiff’s motion to amend the schedule.
          Case 1:18-cv-02226-ABJ Document 10 Filed 10/04/18 Page 2 of 3



cognizant of all of these timing considerations yet failed to take prompt action to protect his

purported rights.

       Plaintiff now requests that this Court amend the schedule it adopted yesterday on the

ground that the Senate Majority Leader has now filed a cloture motion, and because, if cloture is

invoked, a final vote on Judge Kavanaugh’s nomination may occur at some point this weekend.

But those facts were fully presented (by Plaintiff’s own counsel) at yesterday’s on-the-record

scheduling conference, and were already before the Court when it adopted the schedule that it

did—without any objection from Plaintiff. See Unofficial Tr. of Oct. 3, 2018 Scheduling

Conference at 21:7-18 (“MR. MEHRI: . . . So it’s our understanding that the majority leader could

file for clo[t]ure, a petition for clo[t]ure as early as today. . . . [A] vote could happen as early as

Saturday.”).

       Plaintiff’s motion for temporary restraining order appears not to seek an injunction that

would actually bar the Senate from holding a vote—presumably because Plaintiff recognizes the

constitutional problems with requesting such a remedy. Plaintiff’s motion instead provides a wish

list with respect to various document-related grievances, including seeking a privilege log, more

convenient access to certain records designated “committee confidential,” and so on. Accordingly,

even if this Court were to hold a hearing immediately and grant Plaintiff’s motion in its entirety,

such an order would not prevent a vote from occurring over the weekend. And in light of the

timing, at this point, it would be simply impossible to process, produce, or log any substantial

portion of the (at least) hundreds of thousands (potentially, millions) of pages of documents for

which Plaintiff is apparently seeking some sort of remedy through this lawsuit.

       As the government defendants intend to explain in their combined brief in opposition to

Plaintiff’s motion for a temporary restraining order and motion to dismiss, and as Plaintiff’s



                                                  2
          Case 1:18-cv-02226-ABJ Document 10 Filed 10/04/18 Page 3 of 3



request for an expedited hearing itself underscores, at bottom, Plaintiff’s dispute is primarily with

his fellow Senators. If Plaintiff disagrees with the decision of a majority of Senators to proceed

with a vote on this schedule, then he is free to perform his constitutional advice and consent role

by voting against cloture and, if cloture is invoked, by voting against the nominee. But Plaintiff’s

complaint and motion identify no case, statute, or constitutional provision that provide this Court

jurisdiction to interfere in that process at the eleventh hour, let alone a statutory right to the

information that he seeks (for the first time) via court order. Well-settled precedent from both the

Supreme Court and the D.C. Circuit plainly forecloses any exercise of subject-matter jurisdiction

over this case (and therefore also over Plaintiff’s motion for a temporary restraining order), and

Plaintiff’s last-minute attempt to further expedite these proceedings despite his own extensive

delay should be rejected.

       Plaintiff’s motion should be denied.

       Dated: October 4, 2018                          Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General

                                                      ERIC R. WOMACK
                                                      Assistant Branch Director

                                                      /s/ Stephen M. Pezzi
                                                      STEPHEN M. PEZZI (D.C. Bar No. 995500)
                                                      Trial Attorney
                                                      United States Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street NW, Room 11504
                                                      Washington, DC 20005
                                                      Phone: (202) 305-8576
                                                      Fax: (202) 616-8470
                                                      Email: stephen.pezzi@usdoj.gov

                                                      Attorneys for the Government Defendants




                                                 3
